     Case 2:90-cv-00520-KJM-SCR            Document 5305           Filed 05/04/15       Page 1 of 4


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10                           FOR THE EASTERN DISTRICT OF CALIFORNIA

11                                         SACRAMENTO DIVISION

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       RALPH COLEMAN, et al.,                                  2:90-cv-00520 KJM DAD PC
14
                                    Plaintiffs, STIPULATED RESPONSE AND ORDER
15                                              ON THE SPECIAL MASTER’S REPORT
                 v.                             ON CALIFORNIA DEPARTMENT OF
16                                              CORRECTIONS AND
                                                REHABILITATION’S
17     EDMUND G. BROWN JR., et al.,             IMPLEMENTATION OF POLICIES
                                                AND PROCEDURE ON RULES
18                                Defendants. VIOLATION REPORTS
19

20
              On January 30, 2015, the Special Master filed his report, as required by this Court’s April
21
       10, 2014 order, (ECF No. 5131) on the California Department of Corrections and Rehabilitation’s
22
       (CDCR) implementation of policies and procedures related to Rules Violation Reports (RVR).
23
       (ECF No. 5266.) The report included four recommendations. (Id. at 25-26.)
24
              The parties met-and-conferred with the Special Master’s team on February 19, February
25
       27, March 12, March 17, March 23, April 1, and April 2, 2015, to discuss the Special Master’s
26
       recommendations and the RVR process. During this meet-and-confer process, the parties, in
27
       coordination with the Special Master, made several modifications to CDCR’s RVR policies and
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                      Stip. Resp. and Order to the Special Master’s Jan. 30, 2015 Report (2:90-cv-00520 KJM DAD PC)
     Case 2:90-cv-00520-KJM-SCR            Document 5305           Filed 05/04/15       Page 2 of 4


 1     procedures, in response to the Special Master’s Report.
 2            The parties have agreed to revise the 2011 RVR policies, procedures, and staff training
 3     that were the subject of the report. As such, CDCR will implement the following:
 4                    a. Revised Title 15, Sections 3310(d), 3315(h), 3317, 3317.1, 3317.2
 5                       (Attachment 1; in draft form);
 6                    b. Revised Departmental Operating Manual Section 52080.5.8 (Attachment 2; in
 7                       draft form);
 8                    c. Revised Mental Health Assessment Form (115-MH) (Attachment 3; in draft
 9                       form); and
10                    d. Memorandum entitled “Implementation of Rules Violation Report Exclusions
11                       and Documentation of Rules Violations in an Alternate Manner Based on
12                       Clinical Input for all Inmate Participants in the Mental Health Services
13                       Delivery System” (Attachment 4; in draft form)
14            As a result, the parties, with the concurrence of the Special Master, stipulate as follows:
15                                                    STIPULATION
16     Recommendation No. 1
17            1.      The first recommendation in the report states: “CDCR shall immediately end the
18     practice of using inmate workers in any aspect of the RVR process.” (ECF No. 5266 at 25.) The
19     parties have agreed that CDCR will eliminate the use of inmate workers in the RVR process
20     entirely by upgrading its Strategic Offender Management System (SOMS). (See Attachment 5.)
21     This SOMS upgrade will allow CDCR staff to directly input information into the RVR forms,
22     thus removing inmate clerks from this process. CDCR will implement this measure within 12
23     months from the date the Court approves this Stipulation and Proposed Order, and will make a
24     good-faith effort to accelerate implementation.
25            2.      In the interim, CDCR will not use inmate clerks in the RVR process for inmates
26     who receive RVRs while housed in a Mental Health Crisis Bed, or in an inpatient program within
27     a CDCR prison (which includes DSH-Stockton, Salinas Valley Psychiatric Program, Vacaville
28     Psychiatric Program, the San Quentin Psychiatric Inpatient Program, and the California
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                      Stip. Resp. and Order to the Special Master’s Jan. 30, 2015 Report (2:90-cv-00520 KJM DAD PC)
     Case 2:90-cv-00520-KJM-SCR               Document 5305           Filed 05/04/15       Page 3 of 4


 1     Institution for Women Psychiatric Inpatient Program.) (See Attachment 5.)
 2             3.      Also in the interim, for RVRs issued to any participant in the Mental Health
 3     Services Delivery System, CDCR will not use inmate clerks to type RVR hearing summaries or
 4     RVR dispositions, or file or otherwise track completed RVRs. (See Attachment 1.) CDCR
 5     proposes to implement these interim measures concurrently with the revised RVR policies
 6     outlined above.
 7     Recommendation No. 2
 8             4.      The second recommendation in the report states: “CDCR shall devise an RVR
 9     quality improvement process for incorporation into its Quality Improvement Tool (CQIT) and
10     conduct regular quality improvement reviews of the RVR process, including but not limited to the
11     staff training aspects of the RVR process, in all of its institutions.”
12             5.      Consistent with Recommendation No. 2, CDCR will revise its Continuous Quality
13     Improvement Tool (CQIT) to include a quality improvement process for RVRs and to conduct
14     regular RVR reviews.
15     Recommendation No. 3
16             6.      The third recommendation in the report states: “Within 243 days, CDCR shall
17     implement, under the guidance of the Special Master, its program of RVR mandatory initial and
18     ongoing training/re-training of all clinical and custody staff who are involved in the RVR
19     process.”
20             7.      Consistent with Recommendation No. 3, CDCR will work with the Special Master
21     to develop and implement mandatory training on the revised policies and procedures outlined
22     above, for clinical and custody staff who are involved in the RVR process. CDCR will
23     implement these policies and procedures, and training thereon, within the 243 day timeframe
24     recommended by the Special Master in the report.
25     Recommendation No. 4
26             8.      The fourth recommendation in the report states: “Following the 243-day period for
27     implementation of the staff training/re-training program, the Special Master shall conduct a
28     review of staff training/re-training on the RVR process in all CDCR institutions, and shall report
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                         Stip. Resp. and Order to the Special Master’s Jan. 30, 2015 Report (2:90-cv-00520 KJM DAD PC)
     Case 2:90-cv-00520-KJM-SCR            Document 5305           Filed 05/04/15        Page 4 of 4


 1     to the Court on his findings no later than 90 days after the completion of his review.”
 2           9.       Consistent with Recommendation No. 4, the parties agree that the Special Master
 3     will review and report on CDCR’s training on the revised policies and procedures.
 4     Dated: April 3, 2015                                    Respectfully submitted,
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                                                               Michael W. Bien
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                                                               MICHAEL W. BIEN
13                                                             Attorney for Plaintiffs
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15                                                    ORDER
16           The court approves the foregoing stipulation, and orders compliance with its provisions.
17           IT IS SO ORDERED.
18     DATED: May 1, 2015.
19

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                                                     UNITED STATES DISTRICT JUDGE
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                      Stip. Resp. and Order to the Special Master’s Jan. 30, 2015 Report (2:90-cv-00520 KJM DAD PC)
